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                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


In Re:                                          Case No. 16-29882
Clifford Alexander O’Neal                       Chapter 13
and Peggy Denise O’Neal
       Debtor(s).
______________________________________________________________________________

               MOTION TO SET ASIDE ORDER DISMISSING CASE
______________________________________________________________________________

       Now come the Debtors and moves to set aside the Order Dismissing Case respectfully

represents unto the Court as follows:

       1.      The case was originally filed on October 26, 2016;

       2.      The debtors fell behind on payments after the debtor, Clifford Alexander O’Neal,

               suffered multiple strokes;

       3.      The debtors’ home was vandalized while the debtor, Clifford, was receiving

               treatment in a hospital in Atlanta, Georgia.

       4.      The debtor, Peggy Denise O’Neal, is employed full time and has the ability to make

               the Chapter 13 Plan payments;

       5.      The debtors wish to continue with their Chapter 13 Bankruptcy and have all missed

               payments forgiven;

       WHEREFORE, PREMISES CONSIDERED, the debtors move to set aside the Order

Dismissing Case.




                                                              /s/ William A. Cohn
                                                              William A. Cohn
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                                                            Attorney for the Debtor
                                                            291 Germantown Bend Cove
                                                            Cordova, TN 38018
                                                            (901) 757-5557
                                                            TN Supreme Court No. 005873
                                                            TX Supreme Court No. 04512980




                                CERTIFICATE OF SERVICE:
       I, William A. Cohn, hereby certify that a true and correct copy of the foregoing was mailed
by U.S. Mail, postage prepaid, on this the 24th day of August, 2018, to:

Ms. Sylvia Ford Brown
Chapter 13 Trustee
200 Jefferson Avenue, Suite 1113
Memphis, Tennessee 38103

Mr. and Mrs. Clifford O’Neal
4792 Callaway Hills Dr.
Memphis, Tennessee 38125

Ab Rcy Svs
1010 June Road
Memphis, TN 38119

Ally Financial
200 Renaissance Ctr
Detroit, MI 48243

Campbell Surgery Center
1410 Brierbrook Rd
Germantown, TN 38138

Capital One Auto Finan
3901 Dallas Pkwy
Plano, TX 75093

Capital One Bank Usa N
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15000 Capital One Dr
Richmond, VA 23238

Conns Credit Corp
3295 College St
Beaumont, TX 77701

Cons Rec Sys
2650 Thousand Oaks Blvd
Memphis, TN 38118

Credit Acceptance
Po Box 513
Southfield, MI 48037

Fed Loan Serv
Po Box 60610
Harrisburg, PA 17106

First Premier Bank
601 S Minnesota Ave
Sioux Falls, SD 57104

Gm Financial
Po Box 181145
Arlington, TX 76096

Medical Finc
5100 Poplar Ave
Memphis, TN 38137

Merrick Bank
Po Box 9201
Old Bethpage, NY 11804

Portfolio Recovery Ass
287 Independence
Virginia Beach, VA 23462

Professional Cr Mgmt
Po Box 4037
Jonesboro, AR 72403

Revenue Recovery Corp
612 Gay St
Knoxville, TN 37902
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Se Fincl Svs
475 E South Street
Collierville, TN 38017

Southern Security Fcu
3337 Summer Ave
Memphis, TN 38122

Tribute
Pob 105555
Atlanta, GA 30348


       /s/ William A. Cohn
       William A. Cohn
